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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                                   )
                                                   )
SALVATORE MANCUSO GOMEZ,                           )
                                                   )
      Petitioner,                                  )   Civil Case: 20-cv-2250 RJL
                                                   )
v.                                                 )
                                                   )
CHAD F. WOLF, ACTING SECRETARY,                    )
U.S. DEPT. OF HOMELAND SECURITY, et al.            )
                                                   )
      Respondents.                                 )
                                                   )


             MOTION FOR LEAVE TO REPLY TO GOVERNMENT’S
             RESPONSE [ECF 15] TO PETITIONER’S MOTION TO
              VACATE STAY AND PRE-HEARING BRIEF [ECF 14]

      COMES NOW PETITIONER, Salvatore Mancuso Gomez, by and through

undersigned counsel, and respectfully submits this Motion for Leave to Reply to

Government’s Response [ECF 15] (hereinafter “Response”) to Petitioner’s Motion to

Vacate Stay and Pre-Hearing Brief [ECF 14].

                                Concise Argument

      The government revealed in their Response that the “Notice of Change of

Country of Removal” provided to Petitioner on Saturday, August 29, 2020, was

“determined” by Chad F. Wolf, Acting Secretary, U.S. Department of Homeland

Security. Pursuant to controlling authority, and absent any indication of delegation

of power, the determination made by Acting Secretary Wolf is void. As this was just

revealed to Petitioner and this Court in the government’s Response of Tuesday




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evening, September 1, 2020, Petitioner respectfully requests a briefing schedule to

address this significant revelation and appropriately brief his arguments.

                                 Authority & Argument

      Generally, “immigration decisions fall within the purview of the Attorney

General and the Secretary of the Department of Homeland Security, see, e.g., 8 U.S.C.

§ 1103. Government Response, ECF 15, p.7. The administration and enforcement of

the Immigration and Nationality Act is normally within the purview of the

Department of Homeland Security, except where duties related thereto are “conferred

upon the President, Attorney General, the Secretary of State,” etc.          8 U.S.C. §

1103(a)(1). Pursuant to 8 U.S.C. § 1231, the Attorney General is charged with

removing aliens that have been ordered removed. Certain aliens, including Mr.

Mancuso, are permitted to designate the country to which they shall be removed. 8

U.S.C. § 1231(b)(2)(A)(i). The Attorney General, however, is specifically empowered

to disregard such designation under limited circumstances. 8 U.S.C § 1231(b)(2)(C)

provides:

      (C) Disregarding designation - The Attorney General may disregard a
      designation under subparagraph (A)(i) if—
              i.   the alien fails to designate a country promptly;
             ii.   the government of the country does not inform
                   the Attorney General finally, within 30 days after the
                   date the Attorney General first inquires, whether the
                   government will accept the alien into the country;
            iii.   the government of the country is not willing to accept
                   the alien into the country; or
            iv.    the Attorney General decides that removing the alien to the
                   country is prejudicial to the United States.

(Emphasis added.).


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      On Saturday, August 29, 2020, the Acting Secretary of Homeland Security

made a determination that removal of Petitioner to Italy would be “prejudicial to the

United States” under 8 USC § 1231(b)(2)(C)(iv). As a result, Petitioner’s removal to

Italy—which had previously been scheduled for the following day— no longer took

occurred.

      It is clear from the government’s pleading that the Attorney General was not

the one that determined Mr. Mancuso’s removal to Italy would be prejudicial to the

United States. Rather, the notice clearly states that determination was made by the

Acting Secretary of Homeland Security, Chad F. Wolf. Acting Secretary Wolf cited 8

USC § 1231(b)(2)(C)(iv) as the authority for the “Notice of Change of Country of

Removal” provided to Mr. Mancuso. Pursuant to that statutory provision, however,

only the Attorney General has the authority to make such a determination.

Petitioner submits that in the absence of action by the Attorney General, the notice

received is void.

      Moreover, Mr. Mancuso submits that as a result of the invalidity of Acting

Secretary Wolf’s appointment, even were the Secretary of Homeland Security

empowered to invoke 8 U.S.C. § 1231(b)(2)(C)(iv), Acting Secretary Wolf was acting

without legal authority, which rendered the notice received void.

      WHEREFORE, Petitioner respectfully requests that the Court grant this

motion to reply and allow time for briefing on this issue.



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                     Respectfully submitted,

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